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  IT IS ORDERED as set forth below:



  Date: June 5, 2024
                                                  _________________________________

                                                           Jeffery W. Cavender
                                                      U.S. Bankruptcy Court Judge

 ________________________________________________________________




                 UNITED STATES BANKRUPTCY COURT
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

    IN RE:                                   CASE NO. 24-55036-JWC

    CARMEN RESHUN SMITH,                     CHAPTER 7

                    Debtor.


                                      ORDER

      THIS MATTER is before the Court on Debtor’s motion to extend time for

credit counseling and to file schedules (Doc. No. 20) (the “Motion”). Debtor filed for

relief under chapter 7 of the Bankruptcy Code on May 17, 2024. The 341 meeting is

scheduled for June 17, 2024. Pursuant to the Order Setting Deadlines for Debtor to
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Correct Filing Deficiency(ies) (Doc. No. 8), Debtor’s Statement of Financial Affairs,

Schedules, Credit Counseling Certificate, and other documents were due on May 31,

2024. The Motion was filed on June 4, 2024, after the deadline to file documents.

      Bankruptcy Rule 1007(c) provides that the Court may grant an extension of

time for filing schedules only on motion, for cause shown, and with appropriate notice.

Bankruptcy Rule 9006(b)(1) provides that the Court may grant a motion to extend

filed after the expiration of the specified period if the failure to act was due to

excusable neglect. The Motion offers no valid reason for extending the deadline and

therefore fails to establish cause to extend the deadline. Accordingly,

      IT IS ORDERED that the Motion is DENIED. Debtor must file all

outstanding documents immediately.

      The Clerk of Court is directed to serve a copy of this Order upon Debtor,

Chapter 7 Trustee, and the United States Trustee.

                               END OF DOCUMENT
